                  IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF ALASKA


  EDWIN ALLEN STOLTENBERG

                   Plaintiff,

  v.                                      Case No. 3:20-cv-00267-JMK

  TROY CLARK, et al.,
                   Defendants.


                                     ORDER

            Per Mr. Stoltenberg’s own request and the Court’s Order at

Docket 108, this case has been stayed for 180 days.             Despite the stay,

Mr. Stoltenberg filed a Motion to Amend at Docket 109 and an amended complaint

at Docket 110. At Dockets 112 and 113, the Federal Defendants responded that

they do not oppose an amended complaint and requested additional time to submit

a responsive pleading. The other Defendants have not responded.

            The stay remains imposed on this case and, absent good cause, will

not expire until January 17, 2023.      At present, this litigation is paused, in

accordance with Mr. Stoltenberg’s request and in consideration of his: (1) attempts

to find counsel; (2) impending prison transfers, and (3) additional available legal

resources upon transitioning to a less restrictive custody placement. No party has

requested the stay be lifted. Accordingly, the Motion for Leave to Amend at

Docket 109 is not ripe for review and the Federal Defendant’s Motion for Extension

of Time at Docket 113 is DENIED AS MOOT.
             If Mr. Stoltenberg wishes this litigation to proceed prior to January 17,

2023, a motion to lift the stay must be filed. However, the Court cautions that if the

stay is lifted, the parties must be ready to litigate this action in accordance with the

federal and local rules of civil procedure and meet all briefing deadlines. The Court

already has granted a significant delay in this case for Mr. Stoltenberg’s practical,

logistical reasons. If the stay is lifted, additional motions for extensions of time

based on attempts to get counsel, prison or custody transfers, or lack of available

research resources will not be well-taken.

             IT IS SO ORDERED.
             DATED this 22nd day of August, 2023, at Anchorage, Alaska.

                                                  /s/ Joshua M. Kindred
                                                  JOSHUA M. KINDRED
                                                  UNITED STATES DISTRICT JUDGE




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Case Management Order
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